                            Attachment
Case 3:20-cr-00365-MMC Document             A
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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6417288        Al          R          $     250,250.00
             6417316       Ma            J         $     584,662.37
             6417326       We           M          $       98,246.34
             6417363        Ba           L         $     130,132.00
             6417378        Ba           K         $     350,000.00
             6417385        Be           F         $     222,000.00
             6417386        Be           J         $     130,600.00
             6417394        Be           T         $     192,051.00
             6417397        Be          R          $     208,053.43
             6417398        Be           T         $     704,250.00
             6417406        Be           B         $     304,340.76
             6417407        Be           T         $     363,864.19
             6417408        Be           B         $       24,901.37
             6417414        Be           J         $     246,000.00
             6417418        Be          M          $     461,274.12
             6417420        Be           J         $     275,000.00
             6417422        Be           B         $     118,411.00
             6417424        Be           J         $     752,454.75
             6417432        Bi          W          $     162,000.00
             6417452        Aa           T         $       35,979.00
             6417459        Ad           J         $     896,739.44
             6417463        Ad          H          $        3,712.50
             6417465        Ah          M          $       10,000.00
             6417468        Ak          R          $     774,767.48
             6417470        Al           B         $     231,401.24
             6417472        Al          C          $       72,559.38
             6417474        Al          R          $     171,487.50
             6417481        Al           A         $       52,467.54
             6417484        Al           J         $     134,437.50
             6417493       Am            I         $     478,687.00
             6417517        Bo           J         $     154,900.00
             6417519        Bo           L         $     188,832.27
             6417531        Br          D          $     120,000.00
             6417548        Br           L         $     367,861.16
             6417549        Ma          N          $       60,550.00
             6417552        Br           T         $     120,000.00
             6417555        Bu           J         $     605,414.41
             6417560        Bu          G          $     112,450.00
             6417567        Bu           J         $       25,000.00
             6417577        Ca          M          $     142,450.00
             6417582        Ca           S         $     297,450.00
             6417585        Ca          C          $     254,683.14
             6417596        Ca          D          $       90,112.36
             6417626        Ch           K         $       78,409.00
             6417627        Ch           B         $     219,755.00
             6417629        Ch          N          $     206,245.32
             6417632        Ch          M          $     250,500.00
             6417633        Ch          D          $     289,259.71
             6417636        Ch           F         $     724,695.00


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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6417650        Cl           S         $      461,737.80
             6417654        Cl           C         $      192,756.31
             6417657        Co           V         $      249,719.18
             6417663        Co           G         $      484,557.40
             6417666        Co           R         $       69,540.00
             6417666        Co           R         $      201,305.00
             6417666        Co           R         $      307,850.00
             6417666        Co           R         $      156,300.00
             6417666        Co           R         $       64,400.00
             6417668        Co           M         $      365,000.00
             6417671        Co           E         $      151,000.00
             6417674        Co           C         $      159,352.06
             6417677        Es           N         $       30,524.56
             6417678        Co           S         $       64,000.00
             6417701        Co           D         $      242,120.10
             6417706        Cr           F         $       14,817.12
             6417708        Co           L         $       50,000.00
             6417720        Da           L         $      148,509.18
             6417723        Da           L         $      123,708.97
             6417741        De           M         $      144,915.23
             6417746        De           T         $      156,699.18
             6417752        De           J         $      518,471.67
             6417755        De           N         $      110,655.93
             6417759        D'           D         $       13,750.00
             6417760        De           G         $       40,000.00
             6417764        Ma           N         $       91,228.28
             6417768        Di           A         $      100,000.00
             6417769        Di           E         $      103,782.53
             6417773        Di           K         $       68,668.71
             6417774        Di           L         $       68,606.14
             6417775        Di           R         $      431,361.18
             6417778        Do           D         $       95,335.61
             6417779        Do           C         $      365,000.00
             6417786        Ji           N         $      156,879.41
             6417791        Do           W         $      219,528.00
             6417794        Du           K         $      314,069.51
             6417804        Du           J         $       70,400.00
             6417812        Ea           R         $      164,973.66
             6417813        Ea           E         $      652,645.47
             6417816        Ed           J         $      150,000.00
             6417828        En           C         $      764,980.10
             6417832        Er           E         $      125,589.96
             6417835        Er           J         $      179,000.00
             6417844        Ew           H         $      150,000.00
             6417849        Fa           T         $      234,699.74
             6417857        Fa           C         $      182,872.11
             6417866        Fe           A         $      148,135.27
             6417868        Fe           J         $       35,000.00
             6417873        Fe           E         $      114,126.37


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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6417877        Fi           R         $       40,293.60
             6417879        Fi           D         $      330,000.00
             6417883        Fl           G         $      300,000.00
             6417884        Fl           R         $       42,518.49
             6417887        Fl           A         $    1,278,127.00
             6417895        Fo           W         $      156,879.41
             6417898        Fo           L         $      573,000.00
             6417899        Fo           R         $      836,322.00
             6417900        Fo           H         $       86,037.00
             6417921        Fr           A         $       97,834.24
             6417922        Fr           J         $       80,000.00
             6417923        Fr           R         $      190,901.37
             6417933        Ga           S         $       50,576.00
             6417935        Ga           B         $      412,516.38
             6417936        Ga           A         $      764,613.22
             6417938        Ga           J         $       77,327.40
             6417945        Ge           E         $      304,726.44
             6417946        Ge           C         $       64,027.00
             6417949        Ge           C         $      343,006.00
             6417963        Gi           P         $        4,750.00
             6417964        Gi           C         $      227,630.00
             6417969        Gi           J         $      335,349.00
             6417972        Gi           K         $      114,588.00
             6417973        Gi           A         $        5,000.00
             6417975        Gi           N         $      240,100.00
             6418011        Gr           M         $       23,419.86
             6418012        Gr           E         $      473,039.70
             6418018        Gr           M         $       64,679.91
             6418019        Gr           B         $      122,000.00
             6418024        Gr           B         $      317,300.00
             6418028        Gr           A         $    1,060,000.00
             6418050        Gu           R         $    2,935,715.00
             6418053        Gu           K         $       67,662.35
             6418070        Ha           V         $       22,568.97
             6418074        Ha           J         $      169,018.44
             6418076        Ha           R         $      209,284.00
             6418079        Ha           Z         $       97,834.24
             6418081        Ha           L         $    1,300,000.00
             6418086        Ha           Z         $      111,460.00
             6418087        Ha           T         $      593,345.00
             6418090        Ha           R         $      300,700.00
             6418093        Ha           T         $       89,783.94
             6418097        Ha           S         $       42,603.77
             6418101        He           K         $       90,070.76
             6418105        He           T         $       41,470.00
             6418106        He           K         $       97,079.00
             6418108        He           H         $      150,000.00
             6418114        He           R         $       20,000.00
             6418115        He           M         $      136,823.06


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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6418116       He            M         $      450,519.00
             6418118       He            C         $        9,043.09
             6418120       He            J         $       41,000.00
             6418126       He            E         $       48,100.00
             6418129       Hi            K         $      134,244.91
             6418140       Hi            S         $      350,827.07
             6418149       Ho            S         $      268,625.00
             6418159       Ho            C         $      198,948.30
             6418163       Ho            M         $      638,295.86
             6418167       Ho            W         $      196,066.50
             6418171       Ho            P         $      732,961.06
             6418176       Hu            B         $      882,117.82
             6418178       Hu            E         $      197,435.62
             6418180       Hu            W         $      489,549.34
             6418185       Hu            I         $       45,677.74
             6418199        In           J         $       24,190.07
             6418214       Ja            C         $      358,320.55
             6418215       Ja            C         $      305,665.00
             6418218       Ja            L         $      273,750.00
             6418235       Je            F         $       49,894.15
             6418240        Ji           H         $      261,685.20
             6418243       Jo            A         $      409,260.28
             6418246       Jo            M         $       60,563.53
             6418249       Jo            G         $      271,575.00
             6418253       Jo            M         $       44,522.00
             6418260       Ju            A         $      225,000.00
             6418261       Ju            J         $        8,663.75
             6418266       Ka            R         $      300,000.00
             6418274       Ka            S         $      148,750.00
             6418277       Ka            R         $      283,100.00
             6418279       Ka            K         $      470,000.00
             6418291       Sm            D         $      100,000.00
             6418294       Ke            S         $      646,000.00
             6418295       Ke            J         $    1,377,500.00
             6418298       Ke            S         $       85,703.91
             6418312       Ki            E         $      208,476.19
             6418319       Ki            M         $       86,000.00
             6418321       Kr            G         $      169,228.43
             6418323       Kl            G         $       59,925.00
             6418324       Kl            M         $      178,663.80
             6418325       Kl            R         $       85,408.57
             6418333       Kn            D         $      110,150.00
             6418335       Ko            P         $       19,531.68
             6418337       Ko            R         $      246,875.00
             6418341       Ko            K         $      100,000.00
             6418344       Ko            T         $      391,148.43
             6418347       Ko            D         $      134,846.31
             6418349       Kr            L         $       93,836.30
             6418352       Kr            S         $      549,048.64


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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6418355        Kr           M         $      193,520.55
             6418376        La           C         $       97,000.00
             6418380        La           R         $      224,500.00
             6418382        La           F         $      172,172.89
             6418385        La           S         $       25,000.00
             6418399        La           M         $       45,544.45
             6418405        La           L         $       93,225.34
             6418407        Le           M         $      207,788.65
             6418416        Le           W         $      300,000.00
             6418419        Le           V         $    1,278,127.00
             6418429        Le           B         $       77,500.00
             6418430        Le           R         $      186,875.00
             6418435        Le           J         $       76,684.78
             6418436        Le           F         $      435,407.72
             6418443        Le           W         $    1,993,681.75
             6418446        Le           A         $      333,716.41
             6418450        Le           C         $    1,084,450.00
             6418452        Le           P         $      300,000.00
             6418462        Li           M         $       44,627.40
             6418467        Li           A         $      302,800.28
             6418470        Li           G         $       71,696.67
             6418474        Li           S         $       94,288.52
             6418480        Lo           J         $       50,985.21
             6418481        Lo           M         $      242,588.00
             6418491        Lu           M         $       45,000.00
             6418500        Lu           J         $       40,287.79
             6418503        Lu           N         $       66,465.00
             6418513        Ma           V         $       19,816.19
             6418542        Ma           J         $      292,492.00
             6418544        Ma           L         $      167,600.00
             6418546        Ma           I         $       39,328.08
             6418553        Ma           J         $      424,243.00
             6418555        Ma           A         $       30,000.00
             6418567        Ma           C         $      462,507.50
             6418573        Ma           J         $       72,124.96
             6418574        Ma           S         $      394,465.18
             6418584        Mc           F         $    1,517,849.45
             6418587        Mc           M         $      490,609.00
             6418604        Mc           M         $      210,000.00
             6418607        Mc           S         $      121,500.00
             6418608        Mc           B         $      330,932.00
             6418617        Mc           S         $      165,455.91
             6418619        Mc           L         $       69,304.31
             6418622        Mc           D         $      320,000.00
             6418624        Me           R         $      237,819.87
             6418629        Me           S         $      128,040.00
             6418635        Me           C         $       92,931.51
             6418638        Me           C         $      128,600.20
             6418639        Me           J         $      424,456.67


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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6418643        Me           J         $       30,000.00
             6418646        Me           R         $      291,391.84
             6418647        Me           M         $       54,499.98
             6418652        Mi           M         $      820,362.16
             6418661        Fi           V         $       38,800.00
             6418665        Mi           C         $      222,378.00
             6418666        Mi           D         $      163,237.68
             6418673        Mi           K         $       58,842.20
             6418680        Mi           J         $       50,000.00
             6418699        Mo           S         $        5,000.00
             6418703        Mo           R         $      141,000.00
             6418712        Mo           B         $      774,117.82
             6418713        Mo           E         $      317,000.00
             6418718        Mo           J         $       78,375.00
             6418724        Mo           D         $      555,274.97
             6418728        Mo           H         $      208,172.26
             6418729        Mo           J         $       69,283.23
             6418742        Mu           L         $       45,000.00
             6418745        Mu           B         $      360,729.49
             6418762        Ne           B         $      236,351.76
             6418766        Ne           I         $      221,102.00
             6418770        Ni           J         $      568,634.73
             6418774        Ni           S         $      290,000.00
             6418777        No           I         $      131,253.42
             6418780        No           P         $       42,141.46
             6418795        Ol           L         $      133,600.00
             6418798        O'           T         $      122,906.52
             6418805        Or           S         $       98,376.71
             6418809        Or           R         $       68,885.00
             6418815        Os           A         $       30,750.00
             6418823        Ou           P         $      658,600.00
             6418834        Pa           J         $       29,081.79
             6418839        Pa           S         $    4,626,864.00
             6418840        Pa           M         $      150,000.00
             6418845        Pa           M         $       66,778.10
             6418852        Pa           M         $       75,000.00
             6418862        Pe           K         $      143,736.65
             6418870        Pe           K         $      115,522.62
             6418874        Pe           R         $      144,614.11
             6418876        Ph           A         $       97,858.91
             6418879        Ph           G         $       11,575.00
             6418882        Ph           M         $       66,847.68
             6418887        Ph           S         $      778,122.08
             6418894        Tu           P         $      103,149.02
             6418898        Pr           D         $      144,851.44
             6418899        Pr           K         $      827,343.23
             6418902        Pr           T         $      585,377.64
             6418904        Pr           W         $       81,105.48
             6418905        Pr           T         $        5,000.00


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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6418912       Pu            S         $       27,862.50
             6418914       Wo            N         $       41,991.19
             6418916       Pu            R         $      219,533.57
             6418924       Ra            S         $      400,149.07
             6418930       Ra            R         $      129,600.00
             6418934       Ra            B         $      118,838.38
             6418941       Re            R         $      735,132.88
             6418942       Re            I         $       98,586.10
             6418943       Re            A         $       21,000.00
             6418947       Re            D         $      264,131.00
             6418963       Re            M         $      203,724.16
             6418966       Re            M         $      661,000.00
             6418972       Pr            R         $      120,000.00
             6418975       Ri            B         $      367,121.23
             6418985       Ro            D         $       22,800.00
             6418998       Ro            G         $       47,392.47
             6418999       Ro            T         $       44,000.00
             6419006       Ro            S         $      176,677.22
             6419011       Ro            P         $      529,860.00
             6419030       Ry            B         $       84,622.00
             6419031       Ry            B         $      253,018.87
             6419038       Sa            C         $      174,118.18
             6419039       Sa            L         $       91,340.00
             6419040       Sa            A         $      180,810.10
             6419043       Sa            K         $       50,000.00
             6419044       Sa            S         $       17,464.90
             6419047       Sa            M         $      335,200.00
             6419058       Sc            S         $      256,256.54
             6419060       Sc            J         $      500,000.00
             6419068       Sc            R         $      403,597.94
             6419082       Sc            C         $      256,231.86
             6419083       Sc            L         $      301,268.49
             6419085       Sc            J         $      350,000.00
             6419095       Se            W         $        7,833.34
             6419101       Se            D         $    1,142,879.78
             6419102       Se            J         $      305,684.88
             6419103       Se            T         $       74,479.17
             6419113       Sh            R         $       41,024.00
             6419116       Sh            J         $       10,000.00
             6419124       Sh            D         $      407,312.58
             6419132       Sh            L         $       26,300.00
             6419135       Sh            E         $       45,737.00
             6419168       Sm            J         $      206,604.86
             6419169       Sm            L         $       37,876.72
             6419181       So            N         $      208,172.97
             6419187       So            M         $      158,758.56
             6419203       Sp            M         $       97,791.69
             6419204       Sp            M         $       90,000.00
             6419205       Sp            S         $      253,992.33


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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6419212       St            S         $       29,579.24
             6419221       St            K         $      216,755.26
             6419228       St            S         $      303,350.00
             6419236       Su            F         $       49,615.89
             6419249       Sw            K         $      457,497.54
             6419262       Ta            D         $      293,625.00
             6419265       Ta            K         $       45,000.00
             6419268       Ta            W         $      258,182.50
             6419274       Te            W         $      162,000.00
             6419277       Te            S         $       10,375.00
             6419286       Th            H         $       10,999.90
             6419287       Th            W         $      643,469.00
             6419293       Ti            D         $      123,600.00
             6419299       Ti            V         $      229,763.32
             6419301       To            E         $       15,000.00
             6419308       Tr            D         $      152,446.17
             6419310       Tr            L         $      253,520.00
             6419311       Tr            R         $      200,000.00
             6419317       Tr            D         $      582,000.00
             6419319       Tu            I         $      387,507.00
             6419320       Tu            M         $      863,240.00
             6419332       Uh            V         $       30,000.00
             6419336       Ut            A         $      695,603.00
             6419341       Va            J         $       49,079.68
             6419353       Va            M         $       13,420.00
             6419358       Ve            D         $       21,775.51
             6419362       Vi            R         $      802,070.07
             6419372       Vo            G         $      370,000.00
             6419386       Wa            M         $       50,000.00
             6419390       Wa            T         $      892,258.00
             6419410       We            J         $      225,000.00
             6419412       We            J         $      452,000.00
             6419417       We            L         $      166,413.00
             6419418       We            S         $      104,000.00
             6419419       We            M         $      144,839.37
             6419428       We            S         $      183,253.42
             6419430       We            Z         $       38,361.80
             6419432       We            J         $      573,062.00
             6419436       Wh            E         $      224,095.05
             6419438       Wh            J         $      100,000.00
             6419443       Wi            C         $      162,898.10
             6419452       Wi            C         $      495,935.00
             6419453       Wi            R         $      185,661.64
             6419456       Wi            H         $      380,000.00
             6419461       Wi            G         $       25,000.00
             6419472       Wo            J         $      163,914.73
             6419476       Ya            A         $      331,950.66
             6419494       Jo            T         $      478,250.00
             6419496       Za            G         $       34,829.30


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           United States v. Lewis Wallach, No. 20-CR-00365-MMC
           Revised Restitution Schedule (by Victim ID No.)

                        Last Name
              Victim     (First 2  First Name
              ID No.     Letters) (First Letter)       Restitution
             6419504        Ze           D         $       93,025.00
             6419521        An           D         $      158,793.97
             6419525        An           S         $      546,971.40
             6419527        An           J         $      113,317.56
             6419531        An           K         $      343,644.52
             6419533        An           R         $       80,657.89
             6419538        Ar           N         $      249,764.38
             6419548        Ar           L         $       86,210.00
             6419557        Ba           N         $       41,108.90
             6419563        Ba           K         $      855,048.55
             6419573        Ba           S         $      122,973.30
             6419603        An           P         $      100,000.00
             6419605        Za           J         $       78,178.35
             6419607        Ca           M         $      298,498.75
             6419608        Ch           J         $      174,000.00
             6419609        Pa           D         $      223,948.64
             6419616        As           C         $      503,442.75
             6419617        Br           H         $      391,849.00
             6419620        Ch           J         $      300,000.00
             6428799        Sw           C         $      232,027.00
             6430948        Ki           K         $      163,361.27
             6443112        Cu           M         $       43,600.00
             6443272        Pa           V         $      149,406.25
             6450412        Li           G         $       26,228.98
             6455624        Ga           J         $      284,250.00
             6465712        Mo           P         $      253,172.26
             6467428        Be           K         $      366,838.91
             6535359        Pu           D         $      154,537.08
             6547580        So           M         $       64,914.00
             6548098        Fo           J         $        2,777.50
             6548114        Se           M         $       66,025.00
             6582113        Go          N/A        $       37,500.00
             6585236        De           M         $       15,480.48
             6721226        Ki           K         $      190,580.41
             6727074        Ha           J         $      121,695.23
             6851516        Go           B         $        7,250.00

                                                   $ 109,953,495.90




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